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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX


UNITED STATES OF AMERICA and              )
PEOPLE OF THE VIRGIN ISLANDS,             )
                                          )
                                          )
            v.                            )
                                          )                Criminal Action No. 2011-023
                                          )
RAHEEM LOUIS,                             )
                                          )
                                          )
                  Defendant.              )
__________________________________________)

Attorneys:
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        For the United States and the Virgin Islands

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        For the Defendant Raheem Louis


                         MEMORANDUM OPINION AND ORDER

Lewis, District Judge

       THIS MATTER is before the Court on the Government’s “Motion in Limine Re:

Admission of Video Recording,” which was filed on Saturday, December 10, 2011. (Dkt. No.

33). By this motion, the Government seeks a finding by the Court that a video it intends to use

during its case-in-chief (Government Exhibit 20A), as well as five clips derived from that video

(Government Exhibit 20B(1)-(5)), are authentic within the meaning of Federal Rule of Evidence

901. An evidentiary hearing was held on this Motion on December 12, 2011; Defendant filed his

opposition to the motion on the morning of December 13, 2011; and the Government filed a
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reply memorandum on the afternoon of December 13, 2011. For the reasons that follow, the

Court denies, without prejudice, the Government’s motion for an order finding that it has

properly authenticated Government Exhibits 20A and 20B(1), (2), & (4).

                                     I. BACKGROUND

                   A. Procedural History

        The trial of this matter was scheduled to begin on Monday, December 12, 2011. On

Friday, December 9, 2011, the Government filed a Motion to Continue Trial, wherein it

explained that it intended to introduce certain video surveillance footage of one of the crime

scenes in this case during its case-in-chief, but was seeking a continuance because Mr. Soto, 1 the

witness who retrieved and could thus authenticate the video footage, would be medically

unavailable on the dates scheduled for trial. (Dkt. No. 29). The Government claimed that the

video footage is important because it would corroborate testimony of several witnesses and is

evidence of the unauthorized use and possession of the vehicle—a blue Jeep Compass—

allegedly stolen by the Defendant.

        In a telephonic conference call with counsel for the Government and the Defendant in the

late afternoon of Friday, December 9, 2011, Defendant’s counsel indicated that Defendant

objected to the requested continuance. The Court stated that it was inclined to continue the trial

one day to December 13, 2011, so that it could hear argument on the record on the Government’s

Motion to Continue Trial. Both the Government and the Defendant indicated their assent to the

Court’s proposal. In addition, the Government stated that it was investigating whether there was


1
  The Government did not identify Mr. Soto by name in its Motion to Continue Trial. However,
at the December 12, 2011 evidentiary hearing, a witness testified that Mr. Soto was the
individual who retrieved the footage from the video surveillance system at the Catherine’s Rest
Supermarket, one of the alleged crime scenes in this case.
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an alternative means of authenticating the video and that it would file a brief on this issue on

Saturday, December 10, 2011. The Defendant stated that it would respond to the Government’s

filing on Sunday, December 11, 2011.

       In the early evening of December 9, 2011, the Court issued an Order continuing the trial

to Tuesday, December 13, 2011, and scheduling a hearing on the Government’s Motion to

Continue Trial for Monday, December 12, 2011. The Court also ordered that the Government

file a brief regarding its proposed alternative means of authenticating the video by 4 p.m. on

Saturday, December 10, 2011. Similarly, the Defendant was ordered to file briefs by 4 p.m. on

Sunday, December 11, 2011, regarding his grounds for objecting to the Government’s Motion to

Continue Trial and the proposed alternative methods of authenticating the video, should the

Government offer any.

       On December 10, 2011, the Government filed the instant “Motion in Limine Re:

Admission of Video Recording.” On December 11, 2011, Defendant filed an opposition to the

Motion to Continue Trial, but did not file a brief addressing the alternative methods of

authenticating the video proposed by the Government. At the December 12, 2011 hearing, after

acknowledging that this Court’s December 9, 2011 Order required her to file a brief addressing

the alternative grounds proposed by the Government by 4 p.m. on December 11, 2011, counsel

for Defendant asked for additional time to file a brief responding to the Government’s arguments

regarding authentication of the surveillance video. The Court continued the trial to Wednesday,

December 14, 2011, in order to give the Defendant an opportunity to respond to the

Government’s motion, including the arguments presented at the hearing regarding authentication

of the surveillance video. The Defendant was allowed until 10 a.m. on December 13, 2011,



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within which to file his brief. The Defendant’s brief was timely filed; and the Government filed

a reply on the afternoon of December 13, 2011.

                   B. The December 12, 2011 Hearing

         At the December 12, 2011 hearing, the Government called four witnesses. The first

witness was Valencia George, a forensic technician with the Virgin Islands Police Department

(“VIPD”). George, who responded to one of the scenes of the alleged crime, provided extensive

testimony regarding the video surveillance system installed at the Catherine’s Rest Supermarket.

Her testimony included confirmation that the recording system was functioning on the day of the

alleged criminal activity and was recording events as they occurred. She also offered testimony

that on August 19, 2011, she and Soto, another forensic technician, reviewed the surveillance

footage and that Soto downloaded it to his laptop while she observed. The following day, Soto

presented her with a CD, which she confirmed, based on her review, contained the same footage

as she had reviewed the day before. She then turned the CD over to the VIPD property

custodian. At the hearing, when presented with Government Exhibit 20A, George testified that it

was the CD that she had received from Soto containing the surveillance footage. She further

testified that she recognized the CD because she had written her initials and the word “original”

on it.

         The Court also heard testimony from Officer Robert Kressley, a forensic detective with

the VIPD. He testified that he has thirty years of experience retrieving data from electronic

devices and is familiar with both the surveillance equipment at the Catherine’s Rest Supermarket

and the technique used by Soto to retrieve the surveillance footage. Officer Kressley explained

that on September 30, 2011, he retrieved the original CD containing the Catherine’s Rest

Supermarket surveillance footage from the VIPD property custodian and had it for

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approximately thirty minutes so that he could “rip” a copy to his computer. 2 Officer Kressley

then made five “clips” from the surveillance footage—Government Exhibits 20B(1)-(5). Officer

Kressley explained that this process did not alter the original CD in any way.

          VIPD Officer Uston Cornelius testified that he was called to the Catherine’s Rest

Supermarket on August 19, 2011, regarding a report of a stolen blue Jeep Compass. When he

arrived, he parked his car and went inside the store for several minutes to investigate. He then

left the store and got back into his car to speak with dispatch. During his testimony, the

Government played an approximately four-minute video clip, Government Exhibit 20B(3). In

that clip, a police car arrives at the Catherine’s Rest Supermarket; an individual gets out of the

police car and enters the store; and the same individual leaves the store and reenters the police

car. Officer Cornelius explained that he was the individual seen in the video and that it depicted

what he remembers occurred on that day. The Government moved for admission of the clip

(Government Exhibit 20B(3)) into evidence.              After asking if there was any objection on

authenticity grounds from the Defendant, and receiving none, the Court admitted the exhibit into

evidence.

          VIPD Officer Rollando Huertas testified that he and his partner were also called to the

Catherine’s Rest Supermarket to investigate a report of a stolen blue Jeep Compass on August

19, 2011. After parking a few hundred yards north of the store, Officer Huertas observed a blue

Jeep Compass drive into the parking lot in front of the store. Officer Huertas drove toward the

Compass and observed an individual exit the front passenger door of the Compass. Officer

Huertas then exited his vehicle with his gun drawn, and ordered both the driver of the Compass



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    Cressley testified that to “rip” means to make an exact electronic duplicate of an original file.

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and the individual who had just exited the Compass to stop.3 The driver of the Compass

“revved” the engine and sped away down the road. The individual who exited the Compass

stopped momentarily, and then ran behind the store while grabbing toward his waist. Officer

Huertas immediately began chasing the fleeing individual and saw that he had what appeared to

be a gun in his hand. After firing twice and commanding the individual to lie down on the

ground, Officer Huertas and another police officer were able to handcuff the individual and

arrest him.

        Officer Huertas identified the driver of the vehicle as Defendant Raheem Louis, whom he

identified in the Courtroom, and the fleeing individual as Kareem Louis. After testifying about

what occurred at the Catherine’s Rest Supermarket, Officer Huertas was shown an

approximately four-minute video, Government Exhibit 20B(5). Officer Huertas stated that the

clip depicted exactly what occurred that day. The Government moved for admission of the clip

(Government Exhibit 20B(5)) into evidence.         After asking if there was any objection on

authenticity grounds from the Defendant, and receiving none, the Court admitted the exhibit into

evidence.

        In addition to the two exhibits that were admitted into evidence with no objection as to

authenticity by the Defendant, the Government also seeks to introduce three other clips that were

not shown at the hearing and for which no witness who observed the events testified.

Additionally, the Government seeks to introduce approximately thirty-two minutes of footage

which extends considerably beyond the five clips that also was not shown at the hearing and for

which no witness who observed the events testified. The Court ordered the Government produce


3
  Officer Huertas explained that he drew his gun because police dispatch had reported that the
suspects who had stolen the blue Jeep Compass were armed.
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to the Court and the Defendants these pieces of proffered evidence on December 13, 2011, and

the Court had the opportunity to review these exhibits—Government Exhibits 20A and 20B(1),

(2) & (4).

                                      II. DISCUSSION

                   A. Applicable Legal Principles

       Rule 901(a) states: “The requirement of authentication or identification as a condition

precedent to admissibility is satisfied by evidence sufficient to support a finding that the matter

in question is what its proponent claims.”        “Rule 901(a) treats preliminary questions of

authentication and identification as matters of conditional relevance according to the standards of

Rule 104(b). The condition of fact which must be fulfilled by every offer of real proof is whether

the evidence is what its proponent claims.” United States v. Reilly, 33 F.3d 1396, 1404 (3d Cir.

1994) (citing 5 Jack B. Weinstein & Margaret A. Berger, Weinstein's Evidence ¶ 901(a)[01] at

901–15 (1993)).

       [T]he burden of proof for authentication is slight . . . [T]he showing of
       authenticity is not on a par with more technical evidentiary rules, such as hearsay
       exceptions, governing admissibility. Rather, there need be only a prima facie
       showing, to the court, of authenticity, not a full argument on admissibility. Once a
       prima facie case is made, the evidence goes to the jury and it is the jury who will
       ultimately determine the authenticity of the evidence, not the court. The only
       requirement is that there has been substantial evidence from which they could
       infer that the document was authentic.

Lexington Ins. Co. v. Western Pennsylvania Hosp., 423 F.3d 318, 328-29 (3d Cir. 2005)

(citations omitted).

       Video evidence may be properly authenticated if a witness with knowledge of the video

testifies that the video is what its proponent claims it to be. United States v. Goldin, 311 F.3d

191, 197 (3d Cir. 2002) (finding that videotape was properly authenticated by camera operator);


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see also United States v. McNair, 439 F. Supp. 103, 105 (E.D. Pa. 1977), aff'd, 571 F.2d 573 (3d

Cir. 1977) (photographs authenticated by witness to the event).           Thus, a video may be

authenticated for the purpose of Rule 901 if a witness to an event testifies that a video accurately

depicts the event.

        Courts have also held that video evidence may be authenticated by testimony regarding

“the type of equipment or camera used, its general reliability, the quality of the recorded product,

the process by which it was focused, or the general reliability of the entire system.” United States

v. Stephens, 202 F. Supp. 2d 1361, 1368 (N.D. Ga. 2002); see also United States v. Sivils, 960

F.2d 587, 597 (6th Cir. 1992) (finding that district court did not abuse discretion in admitting

audio tapes over authenticity objections when there was testimony regarding routine checks of

the recording equipment by federal agents and chain of custody of tapes once recorded); United

States v. Rembert, 863 F.2d 1023 (D.C. Cir. 1988) (finding that series of surveillance

photographs taken by a closed-circuit video camera at an automatic teller machine were properly

authenticated for purposes of an armed robbery trial, where the government introduced

foundational testimony from a bank employee concerning the operation of the surveillance

cameras, the loading of film, and the chain of custody). Thus, a party may authenticate video

footage through different types of evidence—including that the recording equipment was

accurate and that the chain of custody of the material was maintained; or by testimony from a

witness that the footage depicts what they observed with their own senses; or by some

combination thereof. 4


4
  In his opposition to the Government’s “Motion in Limine Re: Admission of Video Recording,”
Defendant argues that authentication of a video recording can be accomplished only by
testimony from someone who actually witnessed the event. As discussed above, this is not an
accurate statement of the law.
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                   B. Analysis

        Here, as detailed above, the Government presented considerable evidence regarding the

type of equipment used to record the surveillance footage, the method used to retrieve that

footage, and the chain of custody of the footage after it was retrieved. 5 It has also presented two

witnesses who testified that approximately eight of the forty minutes of footage that the

Government seeks to authenticate depicts events that they personally observed. See Government

Exhibits 20B(3) & (5).

        That said, the Court has viewed Government Exhibit 20A in its entirety and is concerned

that portions of the video do not appear to comport with the testimony elicited by the

Government that Exhibit 20A depicts the events occurring chronologically between 11:05 a.m.

and 11:45 a.m. on August 19, 2011. The Government did not show Exhibit 20A at the hearing

and thus did not solicit testimony to properly explain those portions. Accordingly, the Court will

deny without prejudice the Government’s request for an order declaring that Government Exhibit

20A is authentic within the meaning of Rule 901.


5
  Citing United States v. Howard-Arias, 679 F.2d 363 (4th Cir. 1982), Defendant claims that the
Government has failed to prove chain of custody because it cannot account for the period after
Soto retrieved the footage and the next morning when he produced a CD to George. However, in
Howard-Arias, the Fourth Circuit explicitly found that a gap in the chain of custody was not fatal
to authenticity: “Contrary to the appellant's assertion, precision in developing the “chain of
custody” is not an iron-clad requirement, and the fact of a missing link does not prevent the
admission of real evidence, so long as there is sufficient proof that the evidence is what it
purports to be and has not been altered in any material aspect.” Id. at 366 (citation omitted)
(finding that district court did not abuse discretion in admitting marijuana into evidence over
authenticity challenge when one of the agents involved in the transfer and testing of the
marijuana did not testify at trial but four other witnesses in chain of custody did testify). Here,
George testified that the footage on the CD provided to her by Soto was the same as the footage
she reviewed the previous day. That is sufficient evidence to overcome Defendant’s chain of
custody challenge.

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       Regarding the three clips derived from Exhibit 20A that were not shown at the December

12, 2011 hearing, Government Exhibits 20B(1), (2), & (4), the Court declines to find at this time

that the Government has shown that they satisfy Federal Rule of Evidence 901’s authenticity

requirement.   The Government urges that the Court may infer their authenticity from the

evidence regarding the recording equipment, the retrieval of the video footage, the chain of

custody of the footage once retrieved, and the testimony that the other video clips depict what

actually occurred on August 19, 2011. In view of the unexplained chronological irregularity in a

portion of Exhibit 20A, the Court cannot depend on the technical reliability of the equipment and

testimony regarding the retrieval process to authenticate the three clips derived from Exhibit 20A

for which no corroborating testimony was presented. Accordingly, the Court also declines to

find that the Government has demonstrated the authenticity of these three clips.

                                    III. CONCLUSION

       For the foregoing reasons, the Court finds that Government Exhibits 20B(3) & (5) have

been properly authenticated, but that Government Exhibits 20A and 20B(1), (2), & (4) have not.

Accordingly, the Court denies without prejudice the Government’s motion for an order finding

that it has properly authenticated Government Exhibits 20A and 20B(1), (2), & (4).


       Date: December 13, 2011                      _______/s/_______
                                                    WILMA A. LEWIS
                                                    District Judge




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